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                       UNITED STATES COURT OF APPEALS
                                  FOR THE
                               SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
16th day of May, two thousand twenty-three.

Before:     Alison J. Nathan,
                   Circuit Judge.
________________________________

 Nicole Broecker, et al.,
                                                  ORDER
              Plaintiffs - Appellants,
                                                  Docket No. 23-655
 v.

 New York City Department of Education, et
 al.,

           Defendants - Appellees.
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        Appellees New York City Department of Education and Meisha Porter move to remove
this case from the Expedited Appeals Calendar.

       IT IS HEREBY ORDERED that the motion is DENIED.


                                                    For the Court:

                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
